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                      UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                              CASE NO. 23-23576-CV-JB


  XYZ CORPORATION,

  Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS IDENTIFIED
  ON SCHEDULE “A”,

  Defendants.
  _______________________________________________/
       NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

         PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by

 undersigned counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against

 the following Defendants:

                Defendant No.         Store Name as Identified on Schedule A
                      30                            C&Bright
                      36                             MingTai
                      75                              Riyuu
                      35                               Venivic
                      64                           TAIHUA-US
                     142                        spendingmoney047
                      33                           AirevesketUS
                     125                          Interesting toys
                     126                        Kning Official Store
                     120                           CZS Co., Ltd
                     117                             AliceFeng

 Respectfully submitted on this 5th day of March, 2024.

                                              LAW FIRM OF RUBIO & ASSOCIATES, P.A.
                                              Attorneys for Plaintiff

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                                     By:/s/ Humberto Rubio
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